                  Case 3:04-cv-00251-HSO-ASH                                         Document 857-11                         Filed 09/03/19                Page 1 of 1
State of Mississippi                                          BUDGET REQUEST FOR FISCAL YEAR ENDING.TUNE 30,2019
Form MBR-1(2015)
                                                                                 REVISED:9/14/2017 10:54:26 AM                                                                 651-09
 Department of Child Protection Services                               660 N. Street, Ste. 200                                                      Dr. David A. Chandler
 AGENCY                                                                ADDRESS
                                                                             Actual Expenses           Estimated Expenses     Requested For             Requested Over/        Estimated
                                                                               June 30,2017               June 30,2018         June 30,2019
I. A.PERSONAL SERVICES                                                                                                                                  AMOUNT                 PERCENT
         1.Salaries, Wages & Fringe Benefits (Base)                                     75,820,794              87,040,406            99,861,755
               a. Additional Compensation                                                                                        .     2,071,342
               b.Proposed Vacancy Rate (Dollar Amount)                                                                                 9,986,176
               c. Per Diem
         Total Salaries, Wages & Fringe Benefits                                        75,820,794              87,040,406            91,946,921                4,906,515                  5.64%
         2.Travel
             a.Travel & Subsistence (In-State)                                           7,440,727               7,417,100             7,585,012                 167,912                   2.26%
               b. Travel & Subsistence(Out-Of-State)                                      139,091                  140,000               140,000
               c. Travel & Subsistence(Out-Of-Countiy)
         Total Travel                                                                    7,579,818               7,557,100             7,725,012                 167,912                   2.22%
   B. CONTRACTUAL SERVICES(Schedule B)
        a.Tuition, Rewards & Awards                                                        776,821               3,200,052             4,200,052                1.000.000                31.25%
        b. Communications, Transportation & Utilities                                     636,103                  644,000               645,000                    1,000                  0.16%
        c.Public Information                                                               101,529                 101,000               101,000
        d.Rents                                                                          1,197,523               2,128,665             2,128,665
         e.Repairs & Service                                                               87,680                   65,000                65,000
         f. Fees,Professional & Other Services                                         28,938,145               38,132,348            45,342,592                7,210,244                 18.91%
         g. Other Contractual Services                                                    816,348                  837,500              945,000                  107,500                  12.84%
         h. Data Processing                                                              5,999,199               9,129,498             9,129,498
         i. Other                                                                         692,137                  500,000              500,000
   Total Contractual Services                                                          39,245,485               54,738,063            63,056,807                8,318,744                15.20%
   C. COMMODITIES(Schedule C)
        a. Maintenance & Construction Materials & Supplies                                       211                  599                     599
         b.Printing & Office Supplies & Materials                                         831,191                 454,951               454,951
         c.Equipment, Repair Parts, Supplies & Accessories                               1,304,938                498,124               582,624                   84,500                  16.96%
         d.Professional & Scientific Su plies & Materials                                  16,366                    6.889                 6,889
         e. Other Supplies & Materials                                                    275,537                  149,737               149,737
  Total Commodities                                                                     2,428,243                1,110,300             1,194,800                  84,500                   7.61%
  D.CAPITAL OUTLAY
       1.Total Other Than Equipment(Schedule D-1)
       2.Equipment(Schedule D-2)
           b. Road Machinery,Farm & Other Working Equipment
               c. Office Machines,Furniture, Fixtures &Equipment                          116,390                 228,088               574,618                  346,530                 151.93%
               d.IS Equipment(Data Processing & Telecommunications)                      1,142,200               1,844,662             2,454,967                 610,305                 33.08%
               e.Equipment - Lease Purchase
               1
               .Other Equipment                                                           335,359                                       725,000                  725,000                 100.00%
         Total Equipment(Schedule D-2)                                                  1,593,949                2,072,750             3,754,585                1,681,835                81.14%
         3. Vehicles(Schedule D-3)                                                         46,918
         4 Wireless Comm_ Devices(Schedule D-4)                                             4,990                    5,000                 5,000
  E.SUBSIDIES,LOANS & GRANTS(Schedule E)                                               55,716,694              151,159,948            81,670,003           (69,489,945)                (45.97%)
TOTAL EXPENDITURES                                                                    182,436,891             303,683,567            249,353,128           (54,330,439)                (17.89%)
II.BUDGET TO BE FUNDED AS FOLLOWS:
  Cash Balance-Unencumbered
   General Fund Appropriation (Enter General Fund Lapse Below)                         98,346,782               97,969,323           113,241,063               15,271,740                15.59%
  State Support Special Funds                                                          13,436,099
  Federal Funds                                                                        67,884,449             203,272,130            133,669,951           (69,602,179)                (34.24%)
                              Other Special Funds (Specify)
  Children's Trust Fund                                                                 1,135,887                 808,440                808,440                                              ,
   Fingerprinting,Homestudy, Other                                                      1,633,674                1,633,674             1,633,674



   Less: Estimated Cash Available NextFiscal Period
 TOTAL FUNDS(equals Total Expenditures above)                                         182,436,891             303,683,567            249,353,128           (54,330,439)                (17.89%)
 GENERAL FUND LAPSE                                                                       512,618
III: PERSONNEL DATA
   Number ofPositions Authorized in Appropriation Bill        a.)Perm Full                  1,536                    1,536                 1,580                      44                   2.86%
                       1-                                     b.)Penn Part
                                                              c.) T-L Full                   417                      417                   481                       64                 15.35%
                                                              d.) T-L Part
  Average Annual Vacancy Rate (Percentage)                    a.)Penn Full                  17.00                    7.00                  7.00                            r
                                                              b.)Perm Part
                                                              c,) T-L Full                   6.00                    3.00                  3.00
                                                              d.) T-L Part
Approved by:           David Chandler                                                                                                                              8/31/2017 4:48 PM
                                Oriicral of Board or Commission                                                                                      Date:
Budget Officer:        Takesha Darby/Takesha.darby@mdcps.ms.gov                                                                                       Title:       Deputy Commissioner
